6/22/2020               Case MDL No. 2741 Document
                                              CM/ECF1870-4       FiledCourt:OHSD
                                                     LIVE - U.S. District 06/22/20 Page 1 of 52
                                                                                                                                 JURY

                                              U.S. District Court
                                       Southern District of Ohio (Dayton)
                                CIVIL DOCKET FOR CASE #: 3:20-cv-00189-DRC


 Poling v. Monsanto Company                                                            Date Filed: 05/21/2020
 Assigned to: Judge Douglas R. Cole                                                    Jury Demand: Plaintiff
 Demand: $75,000                                                                       Nature of Suit: 365 Personal Inj. Prod.
 Cause: 28:1332 Diversity-Product Liability                                            Liability
                                                                                       Jurisdiction: Diversity
 Plaintiff
 Sondra Poling                                                        represented by Robert P Miller
 Individually and as Administrator                                                   Rourke and Blumenthal
 on behalf of                                                                        495 South High Street
 James L. Poling                                                                     Suite 450
                                                                                     Columbus, OH 43215
                                                                                     614-220-9200
                                                                                     Email: rmiller@randbllp.com
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Monsanto Company


  Date Filed            # Docket Text
  05/21/2020           1 COMPLAINT with JURY DEMAND against Monsanto Company ( Filing fee $ 400 paid -
                         receipt number: 0648-7474832), filed by Sondra Poling, Indv. and as Administrator of
                         Estate of James L. Poling. (Attachments: # 1 Civil Cover Sheet, # 2 Summons Form)
                         (Miller, Robert) (Entered: 05/21/2020)
  05/22/2020                Notice: If this case is to be referred it will be assigned to Magistrate Judge Sharon L.
                            Ovington. (kma) (Entered: 05/22/2020)
  05/22/2020           2 Summons Issued as to Monsanto Company. (kma) (Entered: 05/22/2020)



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                                                                              Search        3:20-cv-00189-
                                   Description: Docket Report
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                              UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

     SONDRA POLING, Individually and
     as Administrator of the ESTATE OF
     JAMES L. POLING,                                    Case No. 3:20-cv-189
     235 N. Dugan Road
     Urbana, OH 43078                                    Judge

             Plaintiff,                          :       Magistrate Judge

     V.

     MONSANTO COMPANY,
     c/o Statutory Agent                         :
     Corporation Service Company                 :       JURY DEMAND ENDORSED HEREIN
     50 West Broad Street, Suite 1330
     Columbus, OH 43215

             Defendant.                          :



                                             COMPLAINT


            Now comes the Plaintiff, Sondra Poling, Administrator of the Estate of James L. Poling,

    by and through its undersigned attorneys, and hereby brings this Complaint for damages against

    Defendant Monsanto Company ("Defendant") and alleges the following:

                                       NATURE OF THE CASE

            1.     This is an action for damages suffered by Plaintiff as a direct and proximate result

    of Defendant's negligent and wrongful conduct in connection with the design, development,

    manufacture, testing, packaging, marketing, advertising, distribution, labeling, and/or sale of the

    herbicide Roundup®, containing the active ingredient glyphosate. Plaintiff Sondra Poling is the

    Administrator of the Estate of James Poling, and was appointed as such by the Champaign County

    Probate Court. She brings this action pursuant to Ohio Revised Code Section 2125.01 et seq. for
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the wrongful death of James Poling and for the exclusive benefit of his survivors. Additionally,

Plaintiff brings this action on behalf of said estate as a survivor's action pursuant to Ohio Revised

Code Section 2305.21.

        2.      Plaintiff maintains that Roundup® and/or glyphosate is defective, dangerous to

human health, unfit and unsuitable to be marketed and sold in commerce and lacked proper

warnings and directions as to the dangers associate with its use.

        3.      Plaintiff's injuries, like those striking thousands of similarly situation victims

across the country, were avoidable.

                                  JURISDICTION AND VENUE

        4.      Federal diversity jurisdiction in this Court is proper under 28 U.S.C. § 1332 because

there is complete diversity of citizenship between Plaintiff and Defendant. Defendant is either

incorporated and/or has its principal place of business outside ofthe state in which Plaintiffresides.

        5.      The amount in controversy between Plaintiff and Defendant exceeds $75,000,

exclusive of interest and cost.

        6.      The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

        7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 in that Defendant

conducts business here and is subject to personal jurisdiction in this district. Furthermore,

Defendant sells, markets, and/or distributes Roundup® within this district of Ohio. Also, a

substantial part of the acts and/or omissions giving rise to these claims occurred within this district.

                                              PARTIES

        8.      Sondra Poling, Administrator of the Estate of James L. Poling, is a natural person

and is a resident and citizen of Champaign County, Ohio. At all times relevant to this action,

Decedent James L. Poling was a resident of Ohio. Plaintiff brings this action for the Decedent




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James L. Poling's personal injuries sustained by exposure to RoundupOO containing the active

ingredient glyphosate and the surfactant polyethoxylated tallo amine ("POEA"). As a direct and

proximate result of being exposed to Roundup® Decedent James L. Poling developed ALK-

Negative Anaplastic Large Cell Lymphoma.

       9.      "Roundup®" refers to all formulations of Defendant's Roundup® products,

including, but not limited to, Roundup® Concentrate Poison ivy and Tough Brush Killer 1,

Roundup® Custom Herbicide, Roundup® D-Pak herbicide, Roundup(M Dry Concentrate,

Roundup(M Export Herbicide, Roundupg Fence & Hard Edger 1, Roundup® Garden Foam Weed

& Grass Killer, Roundup© Grass and Weed Killer, Roundup® Herbicide, Roundup© Original2k

herbicide, Roundup® Original 11 Herbicide, Roundup® Pro Concentrate, Roundup® Prodry

Herbicide, Roundupg Promax, Roundup® Quik Stik Grass and Weed Killer, Roundup® Quikpro

Herbicide, Roundup® Rainfast Concentrate Weed & Grass Killer, RoundupOO Rainfast Super

Concentrate Weed & Grass Killer, Roundupg Ready-to-Use Extended Control Weed & Grass

Killer 1 Plus Weed Preventer, Roundup® Ready-to- Use Weed & Grass Killer, Roundup© Ready-

to-Use Weed and Grass Killer 2, Roundup® Ultra Dry, Roundup® Ultra Herbicide, Roundup©

Ultramax, Roundup® VM Herbicide, Roundup® Weed & Grass Killer Concentrate, Roundup®

Weed & Grass Killer Concentrate Plus, Roundup® Weed & Grass killer Ready-to-Use Plus,

Roundup® Weed & Grass Killer Super Concentrate, Roundup® Weed & Grass Killerl Ready-to-

Use, Roundup® WSD Water Soluble Dry Herbicide Deploy Dry Herbicide, or any other

formulation of containing the active ingredient glyphosate.

       10.     Defendant Monsanto Company ("Defendant" or "Monsanto") is a Delaware

corporation, with its principle place of business located at 800 North Lindbergh Avenue, St. Louis,




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Missouri 63137, and is authorized to do business in the State of Ohio and is doing business in the

State of Ohio.

        11.      Defendant advertises and sell goods, specifically Roundup Iz , in the State of Ohio.

        12.      Defendant transacted and conducted business within the state of Ohio that relates

to the allegations in this Complaint.

        13.      Defendant derived substantial revenue from goods and products used in the State

of Ohio.

        14.      Defendant expected or should have expected its acts to have consequences within

the State of Ohio, and derived substantial revenue from interstate commerce.

        15.      Defendant engaged in the business of designing, developing, manufacturing,

testing, packaging, marketing, distributing, labeling, and/or selling Roundup®.

        16.      Defendant is authorized to do business in Ohio and derive substantial income from

doing business in this state.

        17.      Upon information and belief, Defendant purposefully availed itself of the privilege

of conducting activities with the State of Ohio, thus invoking the benefits and protections of its

laws.

        18.      Upon information and belief, Defendant did design, sell, advertise, manufacture

and/or distribute Roundup®, with full lcnowledge its dangerous and defective nature.

                                   FACTUAL ALLEGATIONS

        19.      At all relevant times, Defendant was in the business of, and did, design, research,

manufacture, test, advertise, promote, market, sell, distribute, and/or has acquired and is

responsible for the commercial herbicide Roundup®.




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        20.     Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world's leading producer of glyphosate.

        21.     Monsanto discovered the herbicidal properties of glyphosate during the 1970's and

subsequently began to design, research, manufacture, sell and distribute glyphosate based

"Roundup®" as a broad-spectrum hei•bicide.

        22.     Glyphosate is the active ingredient in Roundup©.

        23.     Glyphosate is a broad-spectrum herbicide used to kill weeds and grasses known to

compete with commercial crops grown around the globe.

        24.     Glyphosate is a"non-selective" herbicide, meaning it kills indiscriminately based

only on whether a give organism produces a specific enzyme, 5-enolpyruvylshikimic acid-3-

phosphate synthase, knowledge as EPSP synthase.

        25.     Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate synthase

that interferes with the shikimic if pathway in plants, resulting the accumulation of shikimic acid

in plant tissue and ultimately plant death.

       26.      Sprayed as a liquid, plants absorb glyphosate directly through their leaves, stems,

and roots, and detectable quantities accumulate in the plant tissues.

       27.      Each year, approximately 250 million pounds of glyphosate are sprayed on crops,

commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been

driven largely by the proliferation of genetically engineered crops, crops specifically tailored to

resist the activity of glyphosate.

       28.     Defendant is intimately involved in the development, design, manufacture,

marketing, sale, and/or distribution of genetically modified ("GMO") crops, many of which are

marketed as being resistant to Roundup® i.e. "Roundup® Ready®." As of 2009, Monsanto was




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the world's leading producer of seeds designed to be Roundup 12 Ready It . In 2010, an estimated

70% corn and cotton, and 90% of soybean fields in the United States contained Roundup® Ready®

seeds.

         29.     The original Roundup®, containing the active ingredient glyphosate, was

introduced in 1974. Today, glyphosate products are among the world's most widely used

herbicides.1

         30.      For nearly 40 years, consumers, farmers, and the public have used Roundup®,

unaware of its carcinogenic properties.

                 REGISTRATION OF HERBICIDES UNDER FEDERAL LAW

         31.     The manufacture, formulation, and distribution of herbicides, such as Roundup®,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act ("FIFRA"), 7 U.S.C.

136 § et seq. FIFRA requires that all pesticides be registered with the Environmental Protection

Agency ("EPA") prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C.

136a(a).

         32.     The EPA requires as part of the registration process, among other requirements, a

variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential-non-target organisms, and other adverse effects on the environment. Registration by the

EPA, however, is not an assurance or finding of safety. The determination the EPA makes in

registering or re-registering a product is not that the product is "safe," but rather that use of the

product in accordance with its label directions "will not generally cause unreasonable adverse

effects on the environment." 7 U.S.C. § 136(a)(c)(5)1)).




' Backgroundef•, Histoiy of Moiisanto's Glypliosate Herbicides, June 2005.



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       33.     FIFRA defines "unreasonable adverse effects on the environment" to mean "any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide." 7 U.S.C. § 136(bb). FIFRA thus

requires the EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

       34.     The EPA and the State of Ohio registered Roundup® for distribution, sale, and

manufacture in the United States and the State of Ohio.

       35.     FIFRA generally requires that the registrant, Monsanto, conduct health and safety

testing of pesticide products. The government is not required, nor is it able, to perform the product

tests that are required of the manufacturer.

       36.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally-mandated process called "re-registration." 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA demands the completion of additional tests and the

submission of data for the EPA's review and evaluation.

       37.     In the case of glyphosate and Roundup®, the EPA had planned on releasing its

preliminary rislc assessment — in relation to the registration process — no later than July 2015. The

EPA completed its review of glyphosate in early 2015 but delayed releasing the assessment

pending further review in light of the World Health Organization's March 24, 2015 finding that

glyphosate is a"probable carcinogen" as demonstrated by the mechanistic evidence of

carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.




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                 MONSANTO'S FALSE REPRESENTATIONS REGARDING
                          THE SAFETY OF ROUNDUP®

       38.       In 1996, the New York Attorney General ("NYAG") filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup® products. Specifically, the

lawsuit challenged Monsanto's general representations that its spray-on glyphosate-based

herbicides, including Roundup®, were "safer than table salt" and "practically non-toxic" to

mammals, birds, and fish. Among the representations, the NYAG found deceptive and misleading

about the human and environmental safety of RoundupO are the following:

             a) Remember that environmentally friendly Roundup® herbicide is biodegradable. It
                won't build up in the soil so you can use Roundup® with confidence along
                customers' driveways, sidewalks and fences.

             b) And remember that Roundup® is biodegradable and won't build up in the soil. That
                will give you the environmental confidence you need to use Roundup(l everywhere
                you've got a weed, brush, edging or trimming problem.

             c) Roundup(b biodegrades into naturally occurring elements.

             d) Remember that versatile Roundup(M herbicide stays where you put it. That means
                there's no washing or leaching to harm customers' shrubs or other desirable
                vegetation.

             e) This non-residual herbicide will not wash or leach in the soil. It stays where you
                apply it.

             f) You can apply Accord with "confidence because it will stay where you put it" it
                bonds tightly to soil particles, preventing leaching. Then, soon after application,
                soil microorganisms biodegrade Accord into natural products.

             g) Glyphosate is less toxic to rats than table salt following acute oral ingestion.

             h) Glyphosate's safety margin is much greater than required. It has over a 1,000-fold
                safety margin in food and over a 700-fold safety margin for workers who
                manufacture it or use it.

             i) You can feel good about using herbicides by Monsanto. They carry a toxicity
                category rating of `practically non-toxic' as it pertains to mammals, birds, and fish.




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              j) "Roundup® can be used where lcids and pets will play and brealcs down into natural
                  material." This ad depicts a person with his head in the ground and a pet dog
                  standing in an area which has been treated with Roundup©.z

        39.      On November 19, 1996, Monsanto entered an Assurance of Discontinuance with

NYAG, in which Monsanto agreed, among other things, "to cease and desist from publishing or

broadcasting any advertisements [in New York] that represent, directly or by implication" that:

              a) its glyphosate-containing pesticide products or any component thereof are safe,
                 non-toxic, harmless, or free from risk;

              b) its glyphosate-containing pesticide products or any component thereof
                 manufactured, formulated, distributed, or sold by Monsanto are biodegradable;

              c) its glyphosate-containing pesticide products or any component thereof stay where
                 they are applied under all circumstances and will not move through the environment
                 by any means;

              d) its glyphosate-containing pesticide products or any component ther•eof are "good"
                 for the environment or are "known for their environmental characteristics;"

              e) glyphosate-containing pesticide products or any component thereof are safer or less
                 toxic than common consumer products other than herbicides; and

              f) its glyphosate-containing products or any component thereof might be classified as
                 "practically non-toxic."

        40.      Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief still has not done so today.

        41.      In 2009, France's highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup® as "biodegradable" and that it "left the soil clean."3




Z Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of Discontinuance

Pursuant to Executive Law § 63(15) (Nov. 1996)
3 Monsanto Guilty in False Ad' Row, BBC, Oct 15, 2009, available at
http://news.bbc.co.uk/'~/hi/europe/8308903.stm.
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                    EVIDENCE OF CARCINOGENICITY IN ROUNDUP®

        42.      As early as the 1980's Monsanto was aware of glyphosate's carcinogenic

properties.

        43.      On March 4, 1985, a group of the Environmental Protection Agency's ("EPA")

Toxicology Branch published a memorandum classifying glyphosate as a Category C oncogene.4

        44.      Category C oncogenes are possible human carcinogens with lirnited evidence of

carcinogenicity.

        45.      In 1986, the EPA issued a Registration Standard for glyphosate (NTIS PB87-

103214). The Registration standard required additional phytotoxicity, environmental fate,

toxicology, product chemistry, and residue chemistry studies. All of the data required was

submitted and reviewed and/or waived.5

        46.      In October 1991, the EPA published a Memorandum entitled "Second Peer Review

of Glyphosate." The memorandum changed glyphosate's classification to Group E(evidence of

non-carcinogenicity for humans). Two peer review committee members did not concur with the

conclusions of the committee and one member refused to sign.6

        47.      In addition to the toxicity of the active molecule, many studies support the

hypothesis that glyphosate formulations found in Defendants' Roundup© products are more

dangerous and toxic than glyphosate alone.7 As early as 1991 evidence existed demonstrating that

glyphosate formulations were significantly more toxic than glyphosate alone.g




4 Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. United States Environmental Protection
Agency.
5 http://www.epa.gov/oppsrrdl/reregistration/REDs/factsheets/0178fact.pdf
6 Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1881. United States Environmental
Protection Agency.
7
  Martinez et al. 2007; Benachour 2009; Gasnier et al. 2010; Peixoto 2005; Marc 2004
$ Martinez et al 1991


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         48.      In 2002, Julie Marc published a study entitled "Pesticide Roundup® Provokes Cell

Division Dysfunction at the Level of CDK I/Cyclin B Activation."

         49.      The study found that Monsanto's Roundup® caused delays in the cell cycles of sea

urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter

cell cycles.

         50.      In 2004, Julie Marc published a study entitled "Glyphosate-based pesticides affect

cell cycle regulation." The study demonstrated a molecular link between glyphosate-based

products and cell cycle dysregulation.

         51.      The study noted that "cell-cycle dysregulation is a hallmarlc of tumor cells and

human cancer. Failure in the cell-cycle checkpoints leads to genomic instability and subsequent

development of cancers from the initial affected cell." Further, "[s]ince cell cycle disorders such

as cancer result from dysfunction of unique cell, it was of interest to evaluate the threshold dose

of glyphosate affecting cells."9

         52.      In 2005, Francisco Peixoto published a study showing that Roundup®'s effects on

rat liver mitochondria are much more toxic and harmful than the same concentrations ofglyphosate

alone.

         53.      The Peixoto study suggested that the harmful effects of Roundup® on

mitochondrial bioenergetics could not be exclusively attributed to glyphosate and could be the

result of other chemicals, namely the surfactant POEA, or alternatively due to the possible synergy

between glyphosate and Roundup Ii formulation products.

         54.      In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining the

effects of Roundup® and glyphosate on human umbilical, embryonic, and placental cells.



9 (Molinari, 2000; Stewart et al., 2003)




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       55.     The study used dilution levels of Roundup® and glyphosate far below agricultural

recommendations, corresponding with low levels of residues in food. The study concluded that

supposed "inert" ingi•edients, and possibly POEA, change human cell permeability and amplify

toxicity of glyphosate alone. The study further suggested that determinations of glyphosate toxicity

should take into account the presence of adjuvants, or those chemicals used in the formulation of

the complete pesticide. The study confirmed that the adjuvants in Roundup© are not inert and that

Roundup© is always more toxic than its active ingredient glyphosate.

       56.     The results of these studies were confirmed in recently published peer-reviewed

studies and were at all times available and/or known to Defendant.

       57.     Defendant knew or should have known that Roundup© is more toxic than

glyphosate alone and that safety studies on Roundup®, Roundup®'s adjuvants and "inert"

ingredients, and/or the surfactant POEA were necessary to protect Plaintiff from Roundup®.

       58.     Defendant knew or should have known that tests, limited to Roundup®'s active

ingredient glyphosate, were insufficient to prove the safety of Roundup®.

       59.     Defendant failed to appropriately and adequately test Roundup®, Roundup®'s

adjuvants and "inei-t" ingredients, and/or the surfactant POEA to protect Plaintiff from Roundup©.

       60.     Rather than performing appropriate tests, Defendant relied upon flawed industry

supported studies designed to protect Defendant's economic interests rather than Plaintiff and the

consuming public.

       61.     Despite its knowledge that Roundup® was considerably more dangerous than

glyphosate alone, Defendant continued to promote Roundup® as safe.




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                                 IARC CLASSIFICATION OF GLYPHOSATE

           62.       The International Agency for Research on Cancer ("IARC") is the specialized

intergovernmental cancer agency the World Health Organization ("WHO") of the United Nations

tasked with conducting and coordinating research into the causes of cancer.

           63.       An IARC Advisory Group to Recommend Priorities for IARC Monographs during

2015-2019 met in April 2014. Though nominations for the review were solicited, a substance

must meet two criteria to be eligible for review by the IARC Monographs: there must already be

some evidence of carcinogenicity of the substance, and there must be evidence that humans are

exposed to the substance.

          64.        IARC set glyphosate for review in 2015-2016. IARC uses five criteria for

determining priority in reviewing chemicals. The substance must have a potential for direct impact

on public health; scientific literature to support suspicion of carcinogenicity; evidence of

significant human exposure; high public interest and/or potential to bring clarity to a controversial

area and/or reduce public anxiety or concern; related agents similar to one given high priority by

the above considerations. Data reviewed is sourced preferably from publicly accessible, peer

reviewed data.

          65.        On March 24, 2015, after its cumulative review of human, animal, and DNA studies

for more than one (1) year, many of which have been in Defendant's possession since as early as

1985, the IARC's working group published its conclusion that the glyphosate contained in

Defendant's Roundup® herbicide, is a Class 2A "probable carcinogen" as demonstrated by the

mechanistic evidence of carcinogenicity in humans and sufficient evidence of carcinogenicity in

animals. lo



10 World Health Organization Question and Answer on Glyphosate: See https://www.iarc.fr/featured-news/mediacentreiarc-news-glyphosate/




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           66.        The IARC's full Monograph was published on July 29, 2015 and established

glyphosate as a class 2A probable carcinogen to humans. According to the authors glyphosate

demonstrated sufficient mechanistic evidence (genotoxicity and oxidative stress) to warrant a 2A

classification based on evidence of carcinogenicity in humans and animals.l l

           67.        The IARC Working Group found an increased risk between exposure to glyphosate

and non-Hodgkin's lymphoma ("NHL") and several subtypes of NHL, and the increased risk

continued after adjustment for other pesticides. l2

           68.        The IARC also found that glyphosate caused DNA and chromosomal damage in

human cells.

                           EARLIER EVIDENCE OF GLYPHOSATE'S DANGER

           69.        Despite the new classification by the IARC, Defendant has had ample evidence of

glyphosate and Roundup®'s genotoxic propei-ties for decades.

           70.        Genotoxicity refers to chemical agents that are capable of damaging the DNA

within a cell through genetic mutations, which is a process that is believed to lead to cancer.

           71.        In 1997, Chris Clements published "Genotoxicity of select herbicides in Rana

catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (comet) assay."13

           72.        The study found that tadpoles exposed to Roundup® showed significant DNA

damage when compared with unexposed control animals.

           73.        Both human and animal studies have shown that glyphosate and glyphosate-based

formulations such as Roundup It can induce oxidative stress.




" Available at httns:/hnonograyhs.iarc.frhwp-content/uploads/2018/06/monol 12-10~df
1 2 See Guyton et al., Car-cinogenicity of Ten•achlowinphos, Pat•athion, Malathion, Diazinon & Glyphosate, snpt•a.
" Clements, C., Ralph, S. & Petras, M. Genotoxicity of select herbicides in Rana cates6efanatadpoles using the alkaline single-cell gel DNA
electrophoresis (comet) assay. Enrniron. Mo1. M:rtagen 29, 277-288 (1997).



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       74.     Oxidative stress and associated clironic inflammation are believed to be involved

in carcinogenesis.

       75.     The IARC Monograph notes that "[s]trong evidence exists that glyphosate, AMPA

and glyphosate-based foi-mulations can induce oxidative stress."

       76.     In 2006 Cesar Paz-y-Mino published a study examining DNA damage in human

subjects exposed to glyphosate.

       77.     The study produced evidence of chromosomal damage in blood cells showing

significantly greater damage after exposure to glyphosate than before in the same individuals,

suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

exposed individuals.

       78.     The IARC Monograph reflects the volume of evidence of glyphosate pesticides'

genotoxicity noting "[t]he evidence for genotoxicity caused by glyphosate-based formulations is

strong."

       79.    Despite knowledge to the contrary, Defendant maintains that there is no evidence

that Roundup® is genotoxic, that regulatory authorities and independent experts are in agreement

that Roundup® is not genotoxic, and that there is no evidence that Roundup© is genotoxic.

       80.     In addition to glyphosate and Roundup®'s genotoxic properties, Defendant has

long been aware of glyphosate's carcinogenic properties.

       81.    Glyphosate and Roundup® in particular have long been associated with

carcinogenicity and the development of numerous forms of cancer, including, but not limited to,

non-Hodgkin's lymphoma, Hodgkin's lymphoma, multiple myeloma, and soft tissue sarcoma.

       82.    Defendant has known ofthis association since the early to mid-1980s and numerous

human and animal studies have evidenced the carcinogenicity of glyphosate and/or Roundupg.




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        83.     In 1985, the EPA studied the effects of glyphosate in mice finding a dose related

response in male mice linked to renal tubal adenomas, a rare tumor. The study concluded the

glyphosate was oncogenic.

        84.     In 2003, Lennart Hardell and Milcael Eriksson published the results of two case

controlled studies on pesticides as a rislc factor for NHL and hairy cell leukemia.

        85.     The study concluded that glyphosate had the most significant relationship to NHL

among all herbicides studies with an increased odds ratio of 3.11.

        86.     In 2003, AJ De Roos published a study examining the pooled data of mid-western

farmers, examining pesticides and herbicides as risk factors for NHL.

        87.     The study, which controlled for potential confounders, found a relationship

between increased NHL incidence and glyphosate.

        88.     In 2008, Mikael Eriksson published a population based case-control study of

exposure to various pesticides as a rislc factor for NHL.

        89.    This strengthened previous associations between glyphosate and NHL.

        90.    In spite of this knowledge, Defendant continued to issue broad and sweeping

statements suggesting that Roundup® was, and is, safer than ordinary household items such as

table salt, despite a lack of scientific support for the accuracy and validity of these statements and,

in fact, voluminous evidence to the contrary.

       91.     Upon information and belief, these statements and representations have been made

with the intent of inducing Plaintiff, the agricultural community, and the public at large to purchase

and increase the use of Defendant's Roundup® for Defendant's pecuniary gain, and in fact, did

induce Plaintiff to use Roundupg.




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        92.     Defendant made these statements with complete disregard and reckless indifference

to the safety of Plaintiff and the general public.

        93.     Notwithstanding Defendant's representations, scientific evidence has established a

clear association between glyphosate and genotoxicity, inflammation, and an increased risk of

many cancers, including, but not limited to, NHL, Multiple Myeloma, and soft tissue sarcoma.

        94.     Defendant knew or should have known that glyphosate is associated with an

increased risk of developing cancer, including, but not limited to, NHL, Multiple Myeloma, and

soft tissue sarcomas.

        95.     Defendant failed to appropriately and adequately inform and warn Plaintiff of the

serious and dangerous risks associated with the use of and exposure to glyphosate and/or

Roundup®, including, but not limited to, the risk of developing NHL, as well as other severe and

personal injuries, which are permanent and/or long-lasting in nature, cause significant physical

pain and mental anguish, diminished enjoyment of life, and the need for medical treatment,

monitoring and/or medications.

        96.     Despite the IARC's classification of glyphosate as a class 2A probable carcinogen,

Defendant continues to maintain that glyphosate and/or Roundupg is safe, non-carcinogenic, non-

genotoxic, and falsely warrant to users and the general public that independent experts and

regulatory agencies agree that there is no evidence of carcinogenicity or genotoxicity in glyphosate

and Roundup©.

        97.     Defendant has claimed and continues to claim that Roundup® is safe, non-

carcinogenic, and non-genotoxic. These misrepresentations are consistent with Defendant's

cavalier approach to investigating and ensuring the safety of its products, the safety of the public

at large, and the safety of Plaintiff.




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       SCIENTIFIC FRAUD UNDERLYING THE SAFETY DETERMINATIONS OF
                                                     GLYPHOSATE
          98.       After the EPA's 1985 classification of glyphosate as possibly carcinogenic to

humans (Group C), Monsanto exerted pressure upon the EPA to change its classification.

          99.       This culminated in the EPA's reclassification of glyphosate to Group E, which was

based upon evidence of non-carcinogenicity in humans.

          100.      In so classifying, the EPA stated that "[i]t should be emphasized, however, that

designation of an agent in Group E is based on the available evidence at the time of evaluation and

should not be interpreted as a definitive conclusion that the agent will not be a carcinogen under

any circumstances."l4


          101.      On two occasions, the EPA found that laboratories hired by Monsanto to test the

toxicity of its Roundup® products for registration purposes committed scientific fraud.

          102.      In the first instance, Monsanto hired Industrial Bio-Test Laboratories ("IBT") to

perform and evaluate pesticide toxicology studies relating to Roundup®.15 IBT performed

approximately 30 tests on glyphosate and glyphosate-containing products, including 11 of the 19

chronic toxicology studies needed to register Roundup® with the EPA.

          103.      In 1976, the Food and Drug Administration ("FDA") performed an inspection of

IBT and discovered discrepancies between the raw data and the final report relating to

toxicological impacts of glyphosate. The EPA subsequently audited IBT and deterinined that the

toxicology studies conducted for Roundup® were invalid.16 An EPA reviewer stated, after finding


14 U.S. Envtl. Prot. Agency, Memorandum, Subject: SECOND Peer Review of Glyphosate 1(1991), available at
http://w~a,w.ega.aov/ncsticides/chcro search/cleared reviews/csr PC103601 30-Oct-91 265 ndf.
'' Monsanto, Backgrounder, Testing Fraud: IBT and Craven Laboratories, htPs://monsanto.com/apn/unloads/2017/06/ibt craven bke.odf
16 U.S. Envtl. Prot. Agency, Summary of the IBT Review Program Office of Pesticide Programs (1983), available at
https://nenis.epa.eov/Exe/"/_vNLT exe/91014ULV TXT?ZvActionD=ZvDocument&Client=EPA&Index=1981+Thru+1985&Docs=&Ouerv=&Ti
me=&L-ndTime=&Searc.hMethod=l &TocRestrict=n&Toc=&TocEntrv=&OField=&OFieldYear=&QFieldMonth=&OFieldDay=&1ntOFieldO ~p_—
0&ExtOFieldOo=O&XmlOuerv=&File=D'%3A%5Czvfiles%5Clndex%20Data%5C81thru85%5CTxt%5C00000022°io5C9101aULV tet&User=A
NONYMOUS&PassGvord=anonvmous&SortMethod=h%7C-
&MaximumDocu mcnts=l &FuzzvDe-ree=0&ImaeeOual ity=r75e8/r75s8/a150v150e 1 C,/i425&Displlv=hpfr&DetSecl- P1ae=x&SearchBnck=7v
Action L&Back=ZvActionS&BackDesc=Results%20paee&NlaximumPaues=l &ZvEntry=l &SeekPaue=a&ZvPURL



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"routine falsification of data" at IBT, that it was "hard to believe the scientific integrity of the

studies when they said they took specimens of the uterus fi•om male 1•abbits."17

          104.       Three top executives of IBT were convicted of fraud in 1983.

          105.       In the second incident, Monsanto hired Craven Laboratories ("Craven") in 1990 to

perform pesticide and herbicide studies, including several studies on Roundup©.

          106.       In March of 1991, the EPA announced that it was investigating Craven for

"allegedly falsifying test data used by chemical firms to win EPA approval of pesticides."

          107.       The investigation lead to the indictments of the laboratory owner and a handful of

employees.

                         MONSANTO'S CONTINUING DISREGARD FOR THE
                            SAFETY OF PLAINTIFF AND THE PUBLIC

          108.       Monsanto claims on its website that "[r]egulatory authorities and independent

experts around the world have reviewed numerous long-term/carcinogenicity and genotoxicity

studies and agree that there is no evidence that glyphosate, the active ingredient in Roundup®

brand herbicides and other glyphosate-based herbicides, causes cancer, even at very high doses,

and that it is not genotoxic.18

          109.       Ironically, the primary source for this statement is a 1986 report by the WHO, the

same organization that now considers glyphosate to be a probable carcinogen.

          110.       Glyphosate, and Defendant's Roundup® products in particular, has long been

associated with serious side effects and many regulatory agencies around the globe have banned

or are currently banning the use of glyphosate herbicide products.




" Marie-Monique Robin, The World According to Monsanto: Pollution, Corruption and the Control of the World's Food Supply (2011) (citing
U.S. Envtl. Prot. Agency, Data Validation, Memo from K. Locke, Toxicology Branch, to R. Taylor, Registration Branch. Washington, D.C.
(August 9, 1978)).
" BackQrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9 2015)



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       111.    Defendant's statements proclaiming the safety of Roundupl) and disregarding its

dangers misled Plaintiff.

       112.    Despite Defendant's knowledge that Roundup® was associated with an elevated

risk of developing cancer. Defendant's promotional campaigns focused on Roundup®'s purported

"safety profile."

       113.    Defendant's failure to adequately warn Plaintiff resulted in (1) Plaintiff using and

being exposed to glyphosate instead of using another acceptable and safe method of controlling

unwanted weeds and pests; and (2) scientists and physicians failing to warn and instruct consumers

about the risk of cancer, including NHL, and other injuries associated with Roundup®.

       114.    Defendant failed to seek modification of the labeling of Roundup® to include

relevant information regarding the risks and dangers associated with Roundup® exposure.

       115.    The failure of Defendant to appropriately warn and inform eh EPA has resulted in

inadequate warnings in safety information presented directly to users and consumers.

       116.    The failure of Defendant to appropriately warn and inform the EPA has resulted in

the absence of warning or caution statements that are adequate to protect health and the

environment.

       117.    The failure of Defendant to appropriately warn and inform the EPA has resulted in

the directions for use that are not adequate to protect health and the environment.

       118.    By reason of the foregoing acts and omission, Plaintiff seeks compensatory

damages as a result of Plaintiff's use of, and exposure to, Roundup® which caused or was a

substantial contributing factor in causing Plaintiff to suffer from cancer, specifically NHL, and

Plaintiff suffered severe and personal injuries which are permanent and lasting in nature, physical

pain and mental anguish, including diminished enjoyment of life.




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          119.   By reason of the foregoing acts and omissions, Decedent James L. Poling was

suffered severe and permanent injuries, resulting in his death.

          120.   By reason of the foregoing acts and omissions, Decedent James L. Poling endured

and suffered emotional and mental anguish, medical expenses, and other economic and non-

economic damages, and ultimately death as a result of the actions and inactions of the Defendant.

                         PLAINTIFF'S EXPOSURE TO ROUNDUP®

          121.   Decedent James L. Poling began using Roundup© in approximately April 1979 on

his property in Urbana, Ohio.

          122.   For years, Decedent James L. Poling sprayed Roundup® at least three times per

month for weed and grass control on his property. Decedent James L. Poling followed all safety

and precautionary warnings during the course of his use.

          123.   Decedent James L. Poling was subsequently diagnosed with Anaplastic Large Cell

Lymphoma (ALK Negative) around May 2018. The development of Decedent's Anaplastic Large

Cell Lymphoma was proximately and actually caused by exposure to Defendant's Roundup®

products.

          124.   Following his diagnosis, Mr. Poling was treated for cancer and ultimately died as a

result of the disease.

                                   FIRST CAUSE OF ACTION
                                       (NEGLIGENCE)

          125.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          126.   Defendant had a duty to exercise reasonable care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution of

Roundup® into the stream of commerce, including a duty to assure that the product would not



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cause users to suffer unreasonable, dangerous side effects.

       127.    Defendant failed to exercise ordinary care in the designing, researching, testing,

manufacturing, marketing, supplying, promoting, packaging, sale, testing, quality assurance,

quality control, and/or distribution of Roundup© into interstate commerce in that Defendants knew

or should have known that using Roundup® created a high risk of unreasonable, dangerous side

effects, including, but not limited to, the development ofNHL, as well as other severe and personal

injuries which are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as need for lifelong medical treatment, monitoring, and/or

medications.

       128.    The negligence by the Defendants, their agents, servants, and/or employees,

included but was not limited to the following acts and/or omissions:

           a) Manufacturing, producing, promoting, formulating, creating, and/or designing
              Roundupg without thoroughly testing it;

           b) Failing to test Roundup® and/or failing to adequately, sufficiently, and properly
              test Roundup(M;

           c) Not conducting sufficient testing programs to determine whether or not Roundup(M
              was safe for use; in that Defendant herein knew or should have known that
              Roundup® was unsafe and unfit for use by reason of the dangers to its users;

           d) Not conducting sufficient testing programs and studies to determine Roundup®'s
              carcinogenic properties even after Defendant had knowledge that Roundup© is,
              was, or could be carcinogenic;

           e) Failing to conduct sufficient testing programs to detei-mine the safety of "inert"
              ingredients and/or adjuvants contained within Roundup®, and the propensity of
              these ingredients to render Roundup® toxic, increase the toxicity of Roundup(g,
              whether these ingredients are carcinogenic, magnify the carcinogenic properties of
              Roundup®, and whether or not "inert" ingredients and/or adjuvants were safe for
              use;

           f) Negligently failing to adequately and correctly warn the Plaintiff, the public, the
              medical and agricultural professions, and the EPA of the dangers of Roundup RO;




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           g) Negligently failing to petition the EPA to strengthen the warnings associated with
              Roundup©;

           h) Failing to provide adequate cautions and warnings to protect the health of users,
              handlers, applicators, and persons who would reasonably and foreseeably come into
              contact with Roundup©;

           i) Negligently marketing, advertising, and recommending the use of Roundup©
              without sufficient knowledge as to its dangerous propensities;

          j) Negligently representing that Roundup© was safe for use for its intended purpose,
             and/or that RoundupOO was safei• than ordinary and common items such as table
             salt, when, in fact, it was unsafe;

           k) Negligently representing that Roundup RO had equivalent safety and efficacy as
              other forms of herbicides;

          1) Negligently designing Roundup® in a manner, which was dangerous to its users;

           m) Negligently manufacturing Roundup® in a manner, which was dangerous to its
              users;

           n) Negligently producing Roundup® in a manner, which was dangerous to its users;

          o) Negligently formulating Roundup© in a manner, which was dangerous to its users;

           p) Concealing information from the Plaintiff while knowing that Roundup® was
              unsafe, dangerous, and/or non-conforming with EPA regulations;

          q) Improperly concealing and/or misrepresenting information from the Plaintiff,
             scientific and medical professionals, and/or the EPA, concerning the severity of
             risks and dangers of Roundup® compared to other forms of herbicides; and

          r) Negligently selling Roundup® with a false and misleading label.


       129.   Defendant under-reported, underestimated, and downplayed the serious dangers of

Roundup®.

       130.   Defendant negligently and deceptively compared the safety risks and/or dangers of

Roundup(M with common everyday foods such as table salt, and other forms of herbicides.

       131.   Defendants were negligent and/or violated Ohio law in the designing, researching,




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supplying, manufacturing, promoting, packaging, distributing, testing, advertising, warning,

marketing, and selling of RoundupS in that they:

            a) Failed to use ordinary care in designing and manufacturing Roundup© so as to
               avoid the aforementioned risks to individuals when Roundup(l was used as an
               herbicide;

            b) Failed to accompany its product with proper and/or accurate warnings regarding all
               possible adverse side effects associated with the use of Roundup®;

            c) Failed to accompany its product with proper warnings regarding all possible
               adverse side effects concerning the failure and/or malfunction of Roundup(V;

            d) Failed to accompany its product with accurate warnings regarding the risks of all
               possible adverse side effects concerning Roundup®;

            e) Failed to warn Plaintiff of the severity and duration of such adverse effects, as the
               warnings given did not accurately reflect the symptoms, or severity of the side
               effects including, but not limited to, the development of NHL;

            f) Failed to conduct adequate testing, clinical testing, and post- marketing surveillance
               to determine the safety of Roundup®;

            g) Failed to conduct adequate testing, clinical testing, and post- marketing surveillance
               to determine the safety of Roundup®'s "inert" ingredients and/or adjuvants;

            h) Negligently misrepresented the evidence of Roundup®'s genotoxicity and
               carcinogenicity; and

            i) Was otherwise careless and/or negligent.

         132.   Despite the fact that Defendant knew or should have known that Roundup© caused,

or could cause, unreasonably dangerous side effects, Defendant continued and continues to market,

manufacture, distribute, and/or sell Roundup© to consumers, including the Plaintiff.

         133.   Defendant knew or should have known that consumers such as the Plaintiff would

foreseeably suffer injury as a result of Defendant's failure to exercise ordinary care, as set forth

above.

         134.   Defendant's violations of law and/or negligence were the proximate cause of

PlaintifPs injuries, harm and economic loss, which Plaintiff suffered from serious and dangerous



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side effects including, but not limited to, NHL, as well as other sever and personal injuries which

are permanent and lasting in nature, physical pain and mental anguish, diminished enjoyment of

life, and financial expenses for hospitalization and medical care. Further, Plaintiff suffered life-

threatening NHL, and severe personal injuries, which are permanent and lasting in nature, physical

pain, and mental anguish, including diminished enjoyment of life.

          135.   WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff's favor for compensatory damages, together with interest, costs herein incurred,

attorneys' fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                             SECOND CAUSE OF ACTION
                    (STRICT PRODUCT LIABILITY — DESIGN DEFECT)

          136.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          137.   At all times relevant, Defendant designed, researched, manufactured, tested,

advertised, promoted, marketed, sold, and distributed Roundup® as hereinabove described that

was used by Plaintiff.

          138.   Defendant's Roundup® was expected to and did reach the usual consumers,

handlers, and persons coming into contact with said product without substantial change in the

condition in which it was produced, manufactured, sold, distributed, and marketed by the

Defendant.

          139.   At those times, Roundup® was in an unsafe, defective, and inherently dangerous

condition, which was dangerous to users, and in particular, the Plaintiff herein.

          140.   The Roundup® designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was defective in design or formulation in that, when



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it left the hands of the manufacturer and/or suppliers, the foreseeable risks exceed the benefits

associated with the design or formulation of Roundup®.

       141.   The Roundup® designed, researched, manufactured, tests, advertised, promoted,

marketed, sold, and distributed by Defendant was defective in design and/or formulation, in that,

when it left the hands of the Defendant's manufacturers and/or suppliers, it was unreasonably

dangerous, unreasonably dangerous in normal use, and it was more dangerous than an ordinary

consumer would expect.

       142.   At all times herein mention, Roundup(l was in a defective condition and unsafe,

and Defendant knew or had reason to know that said product was defective and unsafe, especially

when used in the form and manner as provided by the Defendant. In particular, Defendant's

Roundup® was defective in the following ways:

           a) When placed in the stream of commerce, Defendant's Roundup® products were
              defective in design and formulation and, consequently, dangerous to an extent
              beyond that which an ordinary consumer would anticipate.

           b) When placed in the stream of commerce, Defendant's Roundup® products were
              unreasonably dangerous in that they were hazardous and posed a grave risk of
              cancer and other serious illnesses when used in a reasonably anticipated manner.

           c) When placed in the stream of commerce, Defendants' Roundup(l products
              contained unreasonably dangerous design defects and were not reasonably safe
              when used in a reasonably anticipated manner.

           d) Defendants did not sufficiently test, investigate, or study its Roundup© products.

           e) Exposure to Roundup® presents a risk of harmful side effects that outweigh any
              potential utility stemming from the use of the herbicide:

           f) Defendants new or should have known at the time of marketing its Roundup®
              products that exposure to RoundupCO and could result in cancer and other severe
              illnesses and injuries.

           g) Defendants did not conduct adequate post-marketing surveillance of its Roundup©
              products.

           h) Defendant could have employed safer alternative designs and formulations.



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         143.   Defendant knew or should have known that at all times herein mentioned its

Roundup® was in a defective condition and was and is inherently dangerous and unsafe.

         144.   Plaintiff was exposed to Defendant's Roundup® as described above, without

knowledge of Roundup®'s dangerous characteristics.

         145.   Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of exposure.

         146.   At the time of Plaintiff's use of and exposure to Roundup©, Roundup© was being

used for the purposes and in a manner normally intended, as a broad-spectrum herbicide.

         147.   Defendant with this knowledge voluntarily designed its Roundup 12 with a

dangerous condition for use by the public, and in particular the Plaintiff.

         148.   Defendant had a duty to create a product that was not unreasonably dangerous for

its normal, intended use.

         149.   Defendant created a product that was and is unreasonably dangerous for its normal,

intended use.

         150.   Defendant marketed and promoted a product in such a manner so as to make it

inherently defective as the product downplayed its suspected, probable, and established health

risks inherent with its normal, intended use.

         151.   The Roundup® designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was manufactured defectively in that Roundup it left

the hands of Defendant in a defective condition and was unreasonably dangerous to its intended

users.




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        152.    The Roundup0 designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant reached its intended users in the same defective and

unreasonably dangerous condition in which the Defendant's RoundupO was manufactured.

        153.    Defendant designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed a defective product, which created an unreasonable risk to the

health of consumers and to the Plaintiff in particular, and Defendant is therefore strictly liable for

the injuries sustained by the Plaintiff.

        154.    The Plaintiff could not, by the exercise of reasonable care, have discovered

Roundup0's defects herein mentioned or perceived its danger.

        155.    By reason of the foregoing, the Defendant has become strictly liable to the Plaintiff

for the manufacturing, marketing, promoting, distribution, and selling of a defective product,

Roundup0.

        156.    Defendant's defective design, of Roundup0 amounts to willful, wanton, and/or

reckless conduct by Defendant.

        157.    Defects in Defendant's Roundup0 were the cause or a substantial factor in causing

Plaintiff's injuries.

        158.    As a result of the foregoing acts and omission, the Plaintiff developed NHL, and

suffered severe and personal iiijuries, which are permanent and lasting in nature, physical pain,

and mental anguish, including diminished enjoyment of life, and financial expenses for

hospitalization and medical care.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff's

favor for compensatory and punitive damages, together with interest, costs herein incurred,




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attorneys' fees and all relief as this Colu•t deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.


                           THIRD CAUSE OF ACTION
           (STRICT PRODUCTS LIABILITY — DESIGN DEFECT PURSUANT TO
                      OHIO REVISED CODE SECTION 2307.7)

          159.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          160.   At all times herein mention, the Defendant designed, researched, manufactured,

tested, advertised, promoted, sold, distributed Roundup® as hereinabove described that was used

by the Plaintiff.

          161.   Defendant's Roundup® was expected to and did reach the usual consumers,

handlers, and persons coming into contact with said product without substantial change in the

condition in which it was produced, manufactured, sold, distributed, and marketed by the

Defendant.

          162.   At those times, Roundupg was in an unsafe, defective, and inherently dangerous

condition, which was dangerous to users, and in particular, the Plaintiff herein.

          163.   The Roundup© designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was defective in design and/or formulation, in that,

when it left the hands of the Defendant manufacturers and/or suppliers, it was unreasonably

dangerous, unreasonably dangerous in normal use, and it was more dangerous than an ordinary

consumer would expect.

          164.   At all times herein mentioned, Roundup® was, foreseeably, in a defective condition

and unsafe, and Defendant knew or had reason to lcnow that said product was defective and unsafe,

especially when used in the form and manner as provide d by the Defendant as defined at O.R.C.



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2307.75(B)(1) —(5). In particular, Defendant's Roundup© was defective in the following ways,

among others;

           a) When placed in the stream of commerce, Defendant's Roundup® products were
              defective in design and formulation and, consequently, dangerous to an extent
              beyond that which an ordinary consumer would anticipate.

           b) When placed in the stream of commerce, Defendant's Roundup© products were
              unreasonably dangerous in that they were hazardous and posed a grave risk of
              cancer and other serious illnesses when used in a reasonably anticipated manner as
              such risks are defined at O.R.C. 2307.75(B)(1).

           c) Roundup®'s users were likely unaware of the risk of cancer and other serious
              illnesses due to Defendant's failure to identify these risks and Defendant's
              misleading promotion of the benefits of Roundup®, among other reasons, as
              defined at O.R.C. 2307.75(B)(2).

           d) When placed in the stream of commerce, Defendant's Roundup® products
              contained unreasonably dangerous design defects and were not reasonably safe
              when used in a reasonably anticipated manner as set forth at O.R.C. 2307.75(B)(3).

           e) Defendant did not sufficiently test, investigate, or study its Roundupe products.

           f) Exposure to Roundup® presents an unreasonably high risk of harmful side effects
              that outweigh any potential utility stemming from the use of the herbicide and so
              the design and formulation of Defendant's Roundup® failed to conform to
              applicable public or private product standards in effect when it left Defendant's
              control, all as set forth at O.R.C. 2307.75(B)(4).

           g) Defendant knew or should have known at the time of marketing its Roundup©
              products that exposure to Roundup® could result in cancer and other sever illnesses
              and injuries.

           h) The design or formulation of the Roundup® produced or manufactured by
              Defendants is more dangerous that the reasonably prudent consumer would expect
              when used in an intended or reasonably foreseeable manner in that the risks of
              injury, as defined above, are more dangerous than one would expect when using
              Roundup® as an herbicide or for other grounds keeping or weeding uses, among
              other reasons, all as defined at O.R.C. § 2307.75(B)(5).

           i) Defendant did not conduct adequate post-marketing surveillance of its Roundup®
              products.

       165. Defendant knew or should have known that at all times herein mentioned its

Roundup It was in a defective condition and was and is inherently dangerous and unsafe.



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         166.   Plaintiff was exposed to Defendant's Roundup®, as described above, without

knowledge of Roundup®'s dangerous characteristics.

         167.   At the time of Plaintiffls use of and exposure to Roundup®, Roundup® was being

used for the purposes and in a manner normally intended, as a broad-spectrum herbicide.

         168.   Defendant with this knowledge .voluntarily designed its Roundup® with a

dangerous condition for use by the public, and in particular, the Plaintiff.

         169.   Defendant had a duty to create a product that was not unreasonably dangerous for

its normal, intended use.

         170.   Defendant created a product that was and is unreasonably dangerous for its normal,

intended use

         171.   Defendant marketed and promoted a product in such a manner so as to make it

inherently defective as the product downplayed its suspected, probable, and established health

risks inherent with its normal, intended use.

         172.   The Roundup® designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was manufactured defectively in that Roundup® left

the hands of Defendant in a defective condition and was unreasonably dangerous to its intended

users.

         173.   The Roundup® designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant reached its intended users in the same defective and

unreasonably dangerous condition in which the Defendant's Roundup® was manufactured.

         174.   Defendant designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed a defective product, which created an unreasonable risk to the

health of consumers and to the Plaintiff in particular, and Defendant is therefore strictly liable for




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the injuries sustained by the Plaintiff.

          175.   The Plaintiff could not, by the exercise of reasonable care, have discovered

Roundup®'s defects herein mentioned or perceived its danger.

          176.   By reason of the foregoing, the Defendant has become strictly liable to the Plaintiff

for the manufacturing, marketing, promoting, distribution, and selling of a defective product,

Roundup®.

          177.   Defendants' defective design, of Roundup® amounts to willful, malicious wanton,

and/or reckless conduct by Defendant so as to warrant the imposition of punitive damages under

the common law and/or R.C. 2307.71-.08 as set forth at R.C. 2307.72(B).

          178.   Defects in Defendant's Roundup® were the cause or a substantial factor in causing

Plaintiff's injuries.

          179.   As a result of the foregoing acts and omission, the Plaintiff developed NHL, and

suffered severe and personal injuries, which are permanent and lasting in nature, physical pain,

and mental anguish, including diminished enjoyment of life, and financial expenses for

hospitalization and medical care.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff's

favor for compensatory, together with interest, costs herein incurred, attorneys' fees and all relief

as this Court deems just and proper pursuant to common law and/or applicable state statutes

including Ohio Rev. Code §§ 2307. Additionally, Plaintiff demands a jury trial on all issues

contained herein

                             FOURTH CAUSE OF ACTION
                  (STRICT PRODUCTS LIABILITY — FAILURE TO WARN)

          180.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.



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       181.    At all times relevant to this litigation, Defendant engaged in the business of selling,

testing, distributing, supplying, manufacturing, marketing, and/or promoting Roundup(M, and

through that conduct have knowingly and intentionally placed Roundup® into the stream of

commerce with full knowledge that it reaches consumers such as Plaintiff who are exposed to it

through ordinary and reasonably foreseeable uses.

       182.    Defendant did in fact sell, distribute, supply, manufacture, and/or promote

Roundup© to Plaintiff. Additionally, Defendant expected the Roundup® that it was selling,

distributing, supplying, manufacturing, and/or promoting to reach — and Roundup® did in fact

reach — consumers, including Plaintiff, without any substantial change in the condition of the

product from when it was initially distributed by Defendant.

       183.    At the time of manufacture, Defendant could have provided the warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing

products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to such products.

       184.    At all times herein mentioned, the aforesaid product was defective and unsafe in

manufacture such that it was unreasonably dangerous to the user and was so at the time it was

distributed by Defendant and at the time Plaintiff was exposed to and/or ingested the product. The

defective condition of Roundup® was due in part to the fact that it was not accompanied by proper

warnings regarding its carcinogenic qualities and possible side effects, including, but not limited

to, developing non-Hodgkin's lymphoma as a result of exposure and use.

       185.    Roundup® did not contain a warning or caution statement, which was necessary

and, if complied with, was adequate to protect the health of those exposed in violation of 7 U.S.C.

§ 136j(a)(1)(E) and Ohio common law.




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       186.    Defendant's failure to include a warning or caution statement which was necessary

and, if complied with, was adequate to protect the health of those exposed, violated 7 U.S.C. §

136j(a)(1)(E) as well as Ohio common law.

       187.    Defendant could have amended the label of Roundup® to provide additional

warnings.

       188.    The defect in Roundup® caused serious injury to Plaintiff, who used Roundup® in

its intended and foreseeable manner.

       189.    At all times herein mentioned, Defendant had a duty to properly design,

manufacture, compound, test, inspect, package, label, distribute, market, examine, maintain

supply, provide proper warnings, and take such steps to assure that the product did not cause users

to suffer from unreasonable and dangerous side effects.

       190.    Defendant labeled, distributed, and promoted the aforesaid product that it was

dangerous and unsafe for the use and purpose for which it was intended.

       191.    Defendant failed to warn of the nature and scope of the side effects associated with

Roundup®, namely its carcinogenic properties and its propensity to cause or serve as a substantial

contributing factor in the development of NHL.

       192.    Defendant was aware of the probable consequences of the aforesaid conduct.

Despite the fact that Defendant knew or should have known that Roundup® caused serious

injuries, Defendant failed to exercise reasonable care to warn of the dangerous carcinogenic

properties and side effect of developing NHL from Roundup® exposure, even though these side

effects were known or reasonably scientifically knowable at the time of distribution. Defendant

willfully and deliberately failed to avoid the consequences associated with its failure to warn, and

in doing so, Defendants acted with a conscious disregard for the safety of Plaintiff.




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       193.    At the time of exposure, Plaintiff could not have reasonably discovered any defect

in Roundup® prior through the exercise of reasonable care.

       194.    Defendant, as the manufacturer and/or distributor of the subject product, is held to

the level of knowledge of an expert in the field.

       195.    Plaintiff reasonably relied upon the skill, superior knowledge, and judgment of

Defendant.

       196.    Had Defendant properly disclosed the risks associated with Roundup® products,

Plaintiff would have avoided the risk of NHL by not using Roundup® products.

       197.    The information that Defendant did provide or communicate failed to contain

adequate warnings and precautions that would have enabled Plaintiff, and similarly situated

individuals, to utilize the product safely and with adequate protection. Instead, Defendant

disseminated information that was inaccurate, false, and misleading and which failed to

communicate accurately or adequately the comparative severity, duration, and extent of the risk of

injuries associated with use of and/or exposure to Roundup® and glyphosate; continued to promote

the efficacy of Roundup®, even after it knew or should have known of the unreasonable risks from

use or exposure; and concealed, downplayed, or otherwise suppressed, through aggressive

marketing and promotion, any information or research about the risks and dangers of exposure to

Roundup® and glyphosate.

       198.    To this day, Defendant has failed to adequately warn of the true risks of Plaintiff's

injuries associated with the use of and exposure to Roundup®.

       199.    As a result of its inadequate warnings, Defendant's Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Plaintiff.




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          200.   As a direct and proximate result of Defendant's actions as alleged herein, and in

such other ways to be later shown, he subject product caused Plaintiff to sustain injuries as herein

alleged.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys' fees and all relief as this Court deems just and proper pursuant to common law.

Additionally, Plaintiff demands a jury trial on all issues contained herein.

                      FIFTH CAUSE OF ACTION
 (STRICT PRODUCTS LIABILITY DEFECTIVE DUE TO INADEOUATE WARNING
           PURSUANT TO OHIO REVISED CODE SECTION 2307.76)

          201.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          202.   At all times relevant to this litigation, Defendant engaged in the business of selling,

testing, distributing, supplying, manufacturing, marketing, and/or promoting Roundup®, and

through that conduct have knowingly and intentionally placed Roundup® into the stream of

commerce with full knowledge that it reaches consumers such as Plaintiff who are exposed to it

through ordinary and reasonably foreseeable uses.

          203.   Defendant did in fact sell, distribute, supply, manufacture, and/or promote

Roundup® to Plaintiff. Additionally, Defendant expected the Roundup® that it was selling,

distributing, supplying, manufacturing, and/or promoting to reach — and Roundup® did in fact

reach — consumers, including Plaintiff, without any substantial change in the condition of the

product from when it was initially distributed by Defendant.

          204.   At the time of manufacture, Defendant could have provided the warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing




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products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to such products.

       205.    At all times herein mentioned, the aforesaid product was defective and unsafe in

manufacture such that it was unreasonably dangerous to the user and was so at the time it was

distributed by Defendant and at the time Plaintiff was exposed to and/or ingested the product. The

defective condition of Roundup® was due in part to the fact that it was not accompanied by proper

warnings regarding its carcinogenic qualities and possible side effects, including, but not limited

to, developing non-Hodgkin's lymphoma as a result of exposure and use.

       206.    Defendant's failure to include a warning or caution statement which was necessary

and, if complied with, was adequate to protect the health of those exposed, violated the laws of the

State of Ohio including Ohio Rev. Code §§ 2307.76(A)(1)(a) —(b).

       207.    In addition to, or in the alternative to the preceding paragraph, the Roundup®

manufactured and supplied by Defendant was defective because it could have amended the label

of Roundup® to provide additional warnings, and Defendant's Roundup® was defective due to

inadequate post-marketing warning or instruction because after Defendant knew or should have

known of the risk of serious bodily harm and death from the use of, Defendant failed to provide

an adequate warning to consumers of the product, knowing the product could cause serious injury

and death, as defined at Ohio Rev. Code §§ 2307.76(A)(2)(a) —(b).

       208.    This defect caused serious injury to Plaintiff, who used Roundup® in its intended

and foreseeable manner.

       209.    At all times herein mentioned, Defendant had a duty to properly design,

manufacture, compound, test, inspect, package, label, distribute, market, examine, maintain

supply, provide proper warnings, and take such steps to assure that the product did not cause users




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to suffer from unreasonable and dangerous side effects.

        210.   Defendant labeled, distributed, and promoted the aforesaid product that it was

dangerous and unsafe for the use and purpose for which it was intended.

        211.   Defendant failed to warn of the nature and scope of the side effects associated with

Roundup®, namely its carcinogenic properties and its propensity to cause or serve as a substantial

contributing factor in the development of NHL.

        212.   Defendant was aware of the probable consequences of the aforesaid conduct.

Despite the fact that Defendant knew or should have known that Roundup® caused serious

injuries, Defendant failed to exercise reasonable care to warn of the dangerous carcinogenic

properties and side effect of developing NHL from Roundup® exposure, even though these side

effects were known or reasonably scientifically knowable at the time of distribution. Defendant

willfully and deliberately failed to avoid the consequences associated with its failure to warn, and

in doing so, Defendant acted with a conscious disregard for the safety of Plaintiff.

        213.   At the time of exposure, Plaintiff could not have reasonably discovered any defect

in Roundup® prior to or during the time he used the product through the exercise of reasonable

care.

        214.   Defendant, as the manufacturer and/or distributor of the subject product, is held to

the level of knowledge of an expert in the field.

        215.   Plaintiff reasonably relied upon the skill, superior knowledge, and judgment of

Defendant.

        216.   Had Defendant properly disclosed the risks associated with Roundup® products,

Plaintiff would have avoided the risk of NHL by not using Roundup® products.

        217.   The information that Defendant did provide or communicate failed to contain




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adequate warnings and precautions that would have enabled Plaintiff, and similarly situated

individuals, to utilize the product safely and with adequate protection. Instead, Defendant

disseminated information that was inaccurate, false, and misleading and which failed to

communicate accurately or adequately the comparative severity, duration, and extent of the risk of

injuries associated with use of and/or exposure to Roundup® and glyphosate; continued to promote

the efficacy of Roundup®, even after it knew or should have known of the unreasonable risks from

use or exposure; and concealed, downplayed, or otherwise suppressed, through aggressive

marketing and promotion, any information or research about the risks and dangers of exposure to

Roundup® and glyphosate.

       218.    To this day, Defendant has failed to adequately warn of the true risks of Plaintiff's

injuries associated with the use of and exposure to Roundup®.

       219.    As a result of its inadequate warnings, Defendant's Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Plaintiff.

       220.    As a direct and proximate result of Defendant's actions as alleged herein, and in

such other ways to be later shown, the subject product caused Plaintiff to sustain injuries as herein

alleged.

       221.    Further, Defendant's actions and omissions as identified in this Complaint were

malicious and constitute a flagrant disregard for human life, so as to warrant the imposition of

punitive damages under the common law and/or Ohio Rev. Code §§ 2307.71-.80, as set forth at

Ohio Rev. Code §§ 2307.72(B).

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff's

favor for compensatory and punitive damages, together with interest, costs herein incurred,




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attorneys' fees and all relief as this Court deems just and proper pursuant to common law and/or

applicable state statutes including, but not limited to, Ohio Rev. Code § 2307.73(A). Additionally,

Plaintiff demands a jury trial on all issues contained herein.

                                SIXTH CAUSE OF ACTION
                           (BREACH OF IMPLIED WARRANTIES)

          222.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          223.   At all times herein mentioned, the Defendant manufactured, distributed,

compounded, recommended, merchandized, advertised, promoted, and sold Roundup® as a broad-

spectrum herbicide. These actions were under the ultimate control and supervision of Defendant.

          224.   At the time Defendant marketed, sold, and distributed Roundup® for use by

Plaintiff, Defendant knew of Roundup®'s intended use and impliedly warranted the product to be

of inerchantable quality and safe and fit for this use.

          225.   The Defendant impliedly represented and warranted to Plaintiff and users of

Roundup®, the agricultural community, and/or the EPA that Roundup® was safe and of

merchantable quality and fit for the ordinary purpose for which it was to be used.

          226.   These representations and warranties were false, misleading, and inaccurate in that

Roundup® was unsafe, unreasonably dangerous, not of inerchantable quality, and defective.

          227.   Plaintiff and/or the EPA did rely on said implied warranty of inerchantability of

fitness for particular use and purpose.

          228.   Plaintiff reasonably relied upon the skill and judgment of Defendant as to whether

Roundup® was of inerchantable quality and safe and fit for its intended use.

          229.   Roundup® was injected into the stream of commerce by the Defendant in a

defective, unsafe, and inherently dangerous condition, and the products' materials were expected



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to and did reach users, handlers, and persons coming into contact with said products without

substantial change in the condition in which they were sold.

          230.   The Defendant breached the aforesaid implied warranties, as its herbicide

Roundup® was not fit for its intended purposes and uses.

          231.   As a result of the foregoing acts and omissions, Plaintiff suffered from NHL and

Plaintiff suffered severe and personal injuries which are permanent and lasting in nature, physical

pain, and mental anguish, including diminished enjoyment of life, financial expenses for

hospitalization and medical care, including medical expenses and other economic, and

noneconomic damages.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff's

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys' fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                                SEVENTH CAUSE OF ACTION
                             (BREACH OF EXP1tESS WAR.RANTY)

          232.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          233.   At all relevant and material times, Defendant manufactured, distributed, advertised,

promoted, and sold RoundupO
                          O.

          234.   At all relevant times, Defendant intended that the Defendant's Roundup® be used

in the manner that Plaintiff used it, and Defendant expressly warranted that each Roundup®

product was safe and fit for use by consumers, that it was of inerchantable quality, that its health

and side effects were minimal, and that it was adequately tested and fit for tis intended use.




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           235.         At all relevant times, Defendant was aware that consumers, including Plaintiff,

would use Roundup® products; which is to say that Plaintiff was a foreseeable user of the

Defendant's Roundup® products.

           236.         Plaintiff purchased Roundup® manufactured by Defendant.

           237.         Defendant's Roundup® products were expected to reach and did in fact reach

consumers, including Plaintiff, without any substantial change in the condition in which it was

manufactured and sold by Defendant.

           238.         Defendant expressly warranted that Roundup® was safe and not dangerous to

users.

           239.         Defendant expressly represented to Plaintiff, scientists, the agricultural community,

and/or the EPA that Roundup(V was safe and fit for use for the purposes intended, that it was of

merchantable quality, that it did not produce dangerous side effects in excess of those risks

associated with other forms of herbicides, that the side effects it did produce were accurately

reflected in the warnings, and that it was adequately tested and fit for its intended use.

           240.         Defendant breached various express warranties with respect to Roundup®

including the following particulars:

                 a) Defendant Monsanto's website expressly states that "[r]egulatory authorities and

                        independent experts around the world have reviewed numerous long

                        term/carcinogenicity and genotoxicity studies and agree that there is no evidence

                        that glyphosate, the active ingredient in Roundup® brand herbicides and other

                        glyphosate-based herbicides, causes cancer, even at very high doses, and that it is

                        not genotoxic"19



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                b) Monsanto has expressly warrantied that Roundup® is "safer than table salt" and

                     "practically nontoxic."20

          241.       Roundup® did not conform to these express representations because Roundup©

was not safe and had, at all relevant times, an increased risk of serious side effects, including non-

Hodgkin's lymphoma, when used according to Defendant's instructions.

          242.       Defendant fraudulently concealed information from Plaintiff regarding the true

dangers and relative risks of Roundup©.

          243.       The global scientific community is not, and was never, in agreement that

Roundup® is non-carcinogenic.

          244.       Plaintiff did rely on the express warranties of the Defendant herein.

          245.       Plaintiff, consumers, and members of the agricultural community relied upon the

representation and warranties of the Defendant for use of Roundup(l in recommending, using,

purchasing, mixing, handling, applying, and/or dispensing Roundup®.

          246.       The Defendant herein breached the aforesaid express warranties, as its product

Roundup® was defective.

          247.       Defendant knew or should have known that, in fact, said representations and

warranties were false, misleading, and untrue in that Roundup® was not safe and fit for the use

intended, and, in fact, produced serious injuries to the users that were not accurately identified and

represented by Defendant.

          248.       Defendant knew or should have known that, in fact, said warranties were false,

misleading, and untrue in that there is evidence that Roundup® is toxic, genotoxic, and




20 Reuters, Jun 14, 2015 UPDATE 2-French minister asks shops to stop selling Monsanto Roundup weedkiller.




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carcinogenic and that scientists and/or regulatoiy authorities around the world are not in agreement

that Roundup lt is not carcinogenic or genotoxic and that it is safe.

          249.   As a result of the foregoing acts and omissions, the Plaintiff suffered from life

threatening NHL and suffered severe and personal injuries, which are permanent and lasting in

nature, physical pain, and mental anguish, including diminished enjoyment of life, and financial

expenses for hospitalization and medical care.

          250.   As a result of the foregoing acts and omissions, Plaintiff has suffered and incurred

damages, including medical expenses and other economic and non-economic damages.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff's

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys' fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                                EIGHTH CAUSE OF ACTION
                            (NEGLIGENT MISREPRESENTATION)

          251.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          252.   Defendant represented to Plaintiff, the EPA, and the public in general that said

product, Roundup(M:

             a) had been tested and found safe and effective for ordinary use as a broad-spectrum
                herbicide;

             b) was safer than regular household items and contained on carcinogenic and/or
                genotoxic properties;

             c) that there is no evidence that glyphosate was carcinogenic and/or genotoxic;

             d) that regulatory authorities and independent experts were, at all relevant times, in
                agreement that there is and was no evidence that glyphosate is carcinogenic and/or
                genotoxic.



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        253. The representations made by Defendant were, in fact, false.

        254. Defendant failed to exercise ordinary care in the representation of Roundupg,

while involved in its manufacture, sale, testing, quality assurance, quality control, and/or

distribution of said product into interstate commerce, in that Defendant negligently

misrepresented:

            a) Roundupg's high risk of unreasonable, dangerous side effects.

            b) That credible evidence existed that Roundup© was carcinogenic.

            c) That many regulatory authorities and/or independent experts did not agree that no
               evidence of glyphosate's carcinogenicity existed.

        255. Defendant breached its duty in representing Roundup®'s serious side effects, and

the nature of the evidence of these side effects, to the medical and healthcare community, to the

Plaintiff, the EPA, and the public in general.

        256. As a result of the foregoing acts and omission, the Plaintiff developed NHL and

suffered severe and personal injuries which are permanent and lasting in nature, physical pain, and

mental anguish, including diminished enjoyment of life and financial expenses for hospitalization

and medical care.

        257. As a result of the foregoing acts and omissions, Plaintiff has suffered and incurred

damages, including medical expenses and other economic and non-economic damages.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff's

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys' fees and all i•elief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.




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                               NINTH CAUSE OF ACTION
                        (VIOLATION OF CONSUMER FRAUD ACTS)

          258.   Plaintiff incorporates all prior paragraphs of this Complaint as if fully set forth

herein.

          259.   Plaintiff brings this cause of action pursuant to California Business & Professions

Code § 17500, California Civil Code §§ 1750 et. seq., and Ohio Revised Code Chapter 1345.

          260.   Defendant fraudulently, intentionally negligently, and/or innocently

misrepresented to the public, and to Plaintiff, both directly and by and through the media and

purported "community outreach" programs, the safety of Roundup0 products, and/or fraudulently,

intentionally, negligently and/or innocently concealed, suppressed, or omitted material, adverse

information regarding the safety of Roundupg. This deception cause injury to Plaintiff in violation

of the Consumer Fraud Act of the Plaintiff's home state which creates private rights of action by

the Plaintiff.

          261.   The intentional, negligent, and/or innocent misrepresentations and omissions of

Defendant regarding the safety of Roundup® products were communicated to Plaintiff directly

through national and regional advertising, marketing, and promotion efforts, as well as the

packaging and sales aids. The safety of Roundup® products was also intentionally, negligently,

and/or innocently misrepresented to Plaintiff and the public with the intent that such

misrepresentations would cause Plaintiff and other potential consumers to purchase and use or

continue to purchase and use Roundup® products.

          262.   Defendant either knew or should have known of the material representations it was

making regarding the safety and relative utility of Roundup It products

          263.   Defendant fraudulently, intentionally, negligently, and/or innocently made the

misrepresentations and/or actively concealed, suppressed, or omitted this material information



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with the specific desire to induce Plaintiffs, and the consuming public to purchase and use

Roundup® products. Defendant fraudulently, intentionally, negligently, and/or innocently, knew

or should have known that Plaintiff and the consuming public would rely on such material

misrepresentations and/or omissions in selecting and applying Roundupg products. Defendant

knew or should have known that Plaintiff would rely on their false representations and omissions

       264.    Defendant made these misrepresentations and actively concealed adverse

information including the risk of non-Hodgkin lymphoma, at a time when, their agents and/or

employees knew or should have known, the product had defects, dangers, and characteristics that

were other than what was represented to the consuming public. Specifically, Defendant

misrepresented and actively concealed, suppressed, and omitted that there had been inadequate

testing of the safety and efficacy of Roundup®, and that prior studies, research, reports, and/or

testing had been conducted linking the use of the drug with serious health events, including non-

Hodgkin lymphoma.

       265.    Despite the fact that Defendant knew or should have known of reports of severe

risks including non-Hodglcin lymphoma, with Roundup© use and exposure, this information was

strategically minimized, understated, or omitted in order to create the impression that the human

dangers of Roundup® were nonexistent, particularly in light of its purported utility.

       266.    The fraudulent, intentional, negligent and/or innocent material misrepresentations

and/or active concealment, suppression, and omissions by Defendant were perpetuated directly

and/or indirectly through the advertisements, packaging, sales aids, furtive public relations efforts,

and other marketing and promotional pieces authored, analyzed, created, compiled, designed,

drafted, disseminated, distributed, edited, evaluated, marketed, published, and supplied by

Defendant.




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          267.   If Plaintiff had known the true facts concerning the risks associated with RoundupO

exposure, Plaintiff would have used a safer alternative.

          268.   Plaintiff's reliance upon the material misrepresentations and omissions was

justified, among other reasons, because said misrepresentations and omissions were made by

individuals and entities who were in a position to know the true facts concerning Roundup© while

Plaintiff was not in a position to know the true facts because Defendant overstated the benefits and

safety of Roundup® and downplayed the risk of lymphoma, thereby inducing Plaintiff to use the

herbicide rather than safer alternatives.

          269.   Federal law and the EPA do not authorize and specifically prohibit the deceptions,

misrepresentations and omissions made by Defendant.

          270.   As a direct and proximate result of Defendant's actions and inactions, Plaintiff was

exposed to Roundup(M and suffered and will continue to suffer injuries and damages, as set forth

herein.

          271.   Defendant is a"supplier" of consumer transactions as defined by O.R.C. §

1345.01(C).

          272.   Plaintiff is a"consumer" as defined by O.R.C. § 1345.01(D) 299. Plaintiff entered

into a"consumer transaction" with Defendant as defined by O.R.C. § 1345.01(A).

          273.   Defendant committed one or more unfair or deceptive acts or practices before,

during, and/or after the consumer transaction with Plaintiff in violation of O.R.C. § 1345.02(A)

and/or § 1345.02(B).

          274.   Specifically, Defendant knew or should have known that the subject of the

consumer transaction, Roundup®, was not of the quality that Defendant represented and was in




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fact highly dangerous which was unfair and/or deceptive to Plaintiff and a violation of O.R.C. §

1345.02(B).

        275.    Defendant's actions before, during and/or after the consumer transaction with

Plaintiff were unconscionable and a violation of O.R.C. § 1345.03(A).

        276.    Specifically, Defendant entered into the consumer transaction with Plaintiff and

knowingly made false and misleading statements which Plaintiff relied on to his detriment in

violation of O.R.C. § 1345.03(A) and/or § 1345.03(B).

        277.    When Defendant entered into the consumer transaction with Plaintiff, it knew that

its representations were false, and it made the material representations knowingly without any

knowledge of their truth which were unfair, deceptive, and/or unconscionable to Plaintiff.

        278.    Specifically, Defendant communicated the purported benefits of Roundup® while

failing to disclose the serious and dangerous side effects related to the use of Roundupg with the

intent that consumers, like Plaintiff, would rely upon the misrepresentations and purchase

Roundup® for its intended use.

        279.    As a direct and proximate result of Defendant's false statements as herein alleged,

Plaintiff used Roundup® and suffered severe, debilitating injuries and economic loss, including

but not limited to, cost of inedical care, rehabilitation, lost income, permanent health conditions,

and pain and suffering. Plaintiff seeks damages pursuant to O.R.C. § 1345.09(B) for Defendant

violations and attorney's fees pursuant to O.R.C. 1345.09(F).

        WHEREFORE, Plaintiff respectfully requests that this Coui-t enter judgment in Plaintiff s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys' fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.
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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment against the Defendant, jointly and severally,

on each of the above-reference claims and causes of action and as follows:

          1.      Awarding compensatory damages in excess of the jurisdictional amount, including,

but not limited to pain, suffering, emotional distress, loss of enjoyment of life, and other non-

Awarding compensatory damage to Plaintiff for past and future damages, including, but not limited

to, Plaintiff's pain and suffering and for severe and permanent personal injuries sustained by the

Plaintiff including health care costs and economic loss;

          2.      Awarding economic damages in the form of inedical expenses, out of pocket

expenses, lost earnings, and other economic damages in an amount to be determined at trial of this

action;

          3.      Awarding punitive damages;

          4.      Pre judgment interest;

          5.      Post judgment interest;

          6.     Awarding Plaintiff reasonable attorneys' fees;

          7.     Awarding Plaintiff the costs of these proceedings; and

          8.      Such other and further relief as this Court deems just and proper.




                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands trial by jury as to all issues.




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                                  Respectfully submitted,


                                  /s/Robert P. Miller
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